                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                ROANOKE DIVISION

  JAME S R. PUTMAN, JR. ,                      )
                                               )        Case No. 7:17-cv-168
          Plaintiff,                           )
                                               )
  v.                                           )
                                               )
   SAVAGE ARMS, INC.,                          )        By: Michael F. Urbanski
                                               )        Chief United States District Judge
          Defendant.                           )

                                  MEMORANDUM OPINION

          This matter comes before the court on Plaintiff James R. Putman, Jr.'s ("Putman's")

   Motion to Exclude Opinion Testimony of Sam Fadala, flied on January 8, 2019. ECF No.

   55. Defendant Savage Arms, Inc. ("Savage") responded on January 21. ECF No. 71. Putman

   replied on January 29. ECF     o. 85. The court heard argument on February 1. ECF No. 89.

   For the reasons stated below, the court D ENIE S Putman's motion.

                                                   I.

          Federal Rule of Evidence 703 permits expert witnesses to base opinions on facts or

   data "that the expert has been made aware of or personally observed," as well as facts an

   expert "in the particular field would reasonably rely on." The trial judge serves as the

   "gatekeeper" of expert evidence by determining its admissibility and assessing the

   qualifications of the expert purporting to offer it. Gen. Elec. Co. v. Joiner, 522 U.S. 136, 142

   (1997). To establish "a standard of evidentiary reliability," an expert must testify about

   scientific knowledge. Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589-90 (1993). To

   ensure relevancy, the expert's evidence or testimony must "'assist the trier of fact to




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  understand the evidence or to determine a fact in issue."' Id. at 591 (quoting Fed. R. Evid.

  702). When faced with potential expert testimony, the trial judge must make a "preliminary

  assessment of whether the reasoning or methodology underlying the testimony is

  scientifically valid and of whether that reasoning or methodology properly can be applied to

  the facts in issue." Id. at 592-93. In particular, the Fourth Circuit Court of Appeals has

  "admonished that 'a plaintiff may not prevail in a products liability case by relying on the

  opinion of an expert unsupported by any evidence such as test data or relevant literature in

  the field.'" Oglesby v. Gen. Motors Corp., 190 F.3d 244, 249 (4th Cir. 1999) (quoting

  Alevromagiros v. Hechinger Co., 993 F.2d 417, 422 (4th Cir. 1993)) .

                                                II.

          Putman first argues that, though Dr. Sam Fadala is acknowledged as an expert on

  black powder muzzleloaders, the smokeless powder used by the 10ML-II muzzleloader (the

  weapon that caused Putman's injuries) is very different. Dr. Fadala's only disclosed

  experience with a smokeless powder muzzleloader is his evaluation of the Savage ML and

  ML-II rifles and the articles he wrote on both in national publications. ECF No. 67-3, at 2.

  Putman concludes that Dr. Fadala's experience is not sufficiently tailored to the needs of this

  case.

          Next, Putman argues that Dr. Fadala's conclusions are based on speculation

  disproved by actual testing. Dr. Fadala opines there was a high possibility the projectile had

  migrated down in Putman's weapon, without referencing testing or stating why he believes

  this to be true. ECF No. 67-3, at 5. Meanwhile, Savage's testing with smokeless powder and

  Steven Rodgers's (another defense-designated expert) testing with PowerBelt bullets


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   contradicts Dr. Fadala's theory. By means of a so-called "gun drop test," Rodgers evaluated

   whether a PowerBelt bullet could migrate down the barrel of a muzzleloader. Rodgers found

   that when muzzleloaders were dropped, the bullets either stayed in place or completely fell

   out of the barrel. ECF No. 68-5. Even if Putman's bullet could have moved part-way down

   the barrel as Dr. Fadala opines, Savage conducted tests on whether a bullet in such a

   position would have ruptured Putman's barrel and found it would not have done so. ECF

   No. 68-6. Putman asserts further that Dr. Fadala based his analysis on black powder tests,

   which are wholly inapplicable. These tests say nothing about what happened with Putman's

   10ML-II loaded with smokeless powder.

          Lacking proper qualifications, Putman argues the rest of Dr. Fadala's opinion consists

   of irrelevant recitations of facts within the understanding of the jury. Further, Putman argues

   some of Dr. Fadala's opinions are not supported by the record. For example, Dr. Fadala

   opines Putman failed to clean his weapon but cannot explain why this matters. ECF No. 67-

   3, at 4. He opines that Putman improperly used a ramrod attachment, but again cannot

   explain how this contributed to the malfunction. Id. Based on these arguments, Putman asks

   Dr. Fadala's opinions be excluded.

          Savage argues that Dr. Fadala is qualified and points to the "leading authoritative

   texts on muzzleloading and safe-handling" authored by Dr. Fadala, some of which discuss

   the Savage 10ML-II rifle. Dr. Fadala has previously performed destructive testing with both

   black powder and smokeless powder, written course and training materials for classes related

   to the history, performance, and safe use of muzzleloading firearms, and been retained by

   muzzleloading manufacturers as a consultant and independent contractor. Dr. Fadala has


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   been qualified as an expert witness in muzzleloading shooting, firearms, and failure analysis.

   In one case, he specifically evaluated whether a muzzleloader failed due to the use of

   smokeless powder. Ford v. Traditional Sporting Goods, Inc., Civ No. 05-cv-2086, 2006 WL

   3075547, at *1 (W.D. Ark. Oct. 30, 2006). Savage argues Putman is impermissibly attempting

   to narrow the scope of Dr. Fadala's qualifications. Finally, Savage argues Putman's

   arguments regarding Dr. Fadala's methodology are incorrect. Neither test cited refutes Dr.

   Fadala's opinions. Savage's internal test used a recommended bullet, not the bullet Putman

   used, and Rodgers' gun drop test was not performed for purposes of this litigation but was

   designed to evaluate a new projectile with a sub-base.

                                                III.

          While Putman argues that Dr. Fadala is more qualified in black powder than

   smokeless powder, this observation does not merit his exclusion. All muzzleloaders except

   the 10ML-II use black powder rather than smokeless gunpowder-it would follow that most

   people with expertise in muzzleloading weapons know more about black powder than

   smokeless. To claim that Dr. Fadala's familiarity with the type of gunpowder every other

   muzzleloading rifle uses prevents him from testifying as an expert in muzzleloaders is

   nonsensical. Dr. Fadala has enough familiarity with smokeless gunpowder for his experience

   with muzzleloaders to be applicable. Further, the problems with Dr. Fadala's tests don't

   merit exclusion. Putman argues that Dr. Fadala's theories are disproved by Savage's and

   Rodgers's own testing; Savage presents reasons why the contradictory tests do not apply to

   these issues. Given this disagreement, the issue is best decided by the jury. Putman's

   arguments as to Dr. Fadala's allegedly unsupported statements relate to the positing of


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   alternative theories of causation. These criticisms go to the weight, and not the admissibility,

   of Dr. Fadala's testimony. Putman can elicit testimony showing these theories are unlikely

   during cross examination.

          Finally, Putman argues that much of Dr. Fadala's testimony will be unhelpful to the

   jury. While the Fourth Circuit draws a "critical distinction" between expert and nonexpert

   testimony, U.S. v. Perkins, 470 F. 3d 150, 155 (4th Cit. 2006), it has also held that "the

   'subject matter of Rule 702 testimony need not be arcane or even especially difficult to

   comprehend."' Id. (quoting Kopfv. Skyrm, 993 F.2d 374, 377 (4th Cit. 1993)). Issues

   regarding the admission of an expert's opinions do arise when that expert offers opinions on

   "the commonplace" that threaten to replace a jury's "independent exercise of

   commonsense." Doe by Watson v. Russell County School Board, 292 F. Supp. 3d 690, 717

   (W.D. Va. 2018) (quoting Kopf, 993 F.2d at 377). The information presented by Dr. Fadala

   on muzzleloaders is not within the everyday knowledge of a lay juror, and nothing in Dr.

   Fadala's report threatens to replace a jury's independent exercise of common sense.

                                                  IV.

          For the reasons stated above, Putman's Motion to Exclude Opinion Testimony of

   Sam Fadala, ECF No. 55, is DENIED.

          An appropriate Order will be entered.

                                                        ENTERED:       63-a/..-        ~11




                                                        Michael F. U r anski
                                                        Chief Unite States District Judge

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